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EXHIBIT H
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From:                             Barry Guaglardi <bguaglardi@adgmlaw.com>
Sent:                             Tuesday, June 20, 2017 6:01 PM
To:                               Ditlow, Lindsay F.
Cc:                               Evan Ostrer; Cousin, Brian S.
Subject:                          FW: Dardashtian v. Gitman
Attachments:                      CSV Bank Status.xlsx; Status.docx; Barry S Guaglardi Esq .vcf


L ind say

A ttached is ad etailed listof the accou nts my clientcannotaccess d espite you rclient’s contention thathe has
fu lly restored access in accord ance withJ  u d ge Stanton’s specific ord er.A lso attached is an ex planation why,
alongwithad etailed accou ntingof whatis missingfrom the C SV B ankof A mericaaccou nt.

In ad d ition,B A P issu ed C SV acheckforGitman' s travels thatwere paid forby C SV .This checkwas d eposited
and retu rned forinsu fficientfu nd s.Iwas informed by the C E O of B A P thatGitman asked thatsu chcheckbe
canceled and reissu ed d irectly to him.Thatamou ntis $3,651.84 and shou ld be immed iately red eposited by you r
clientinto the C SV accou nt.

A s is clearfrom the attached ,you rclientcontinu es to refu se to retu rn allissu es backto the P laintiffs’M ay 26,
20 17 cond ition as perthe C ou rt’s ord er.This willbe ad d ressed withthe C ou rtattomorrow’s hearingand the
appropriate relief willbe sou ght.

Ifu rtheroverheard you rclientind icate on the record before J  u d ge Stanton yesterd ay,when he contend ed that
the trad ename C hannelReply was notowned by P laintiffs,thathe obtained atrad emarkon the name
C hannelReply.If thatis the case,and he,withou tau thorization of the P laintiffs,trad emarked the name
C hannelReply forhis oranother’s benefit,itwillbe the basis foranothercau se of action and anotherrestraint
and application to the C ou rt.P lease confirm immed iately if this action was taken,and ,if so,provid e copies of
the trad emarkapplication,the registration forsame,alld ocu ments relatingthereto,so thatwe may d etermine
how to hand le thatsitu ation as well.If Imisheard you rclient,then please confirm the nonex istence of su ch
application foratrad emarkof the name C hannelReply orany otherconfu singly similarname.

Thankyou .

B arry Gu aglard i




Barry S .Guaglardi,Esq.
Arturi,D'Argenio,Guaglardi& M eliti,L L P
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R ochelleP ark,N ew Jersey 07662
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you.




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Transaction                                Date               Amount
Transfer out of CSV                               5/30/2017   $ (50,000.00)
Transfer out of CSV                               5/30/2017   $ (23,982.53)
Overdraft Item Fee                                5/31/2017   $     (35.00)
Overdraft Item Fee                                 6/1/2017   $     (35.00)
Transfer into CSV                                 6/13/2017   $ 68,669.53
Transfer into CSV                                 6/13/2017   $ 5,373.00
Transfer to Dalva Ventures                        6/13/2017   $ (5,060.00)
JPMorgan Chase Auth Debit                         6/13/2017   $      (0.57)
Wire Transfer Fee                                 6/13/2017   $     (30.00)
Incoming Wire - David Gitman                      6/15/2017   $ 10,560.00
Payment to Upcounsel                              6/15/2017   $ (5,775.00)
Incoming Wire - David Gitman                      6/20/2017   $ 3,454.84
                                                              $ 3,139.27 Balance

Stripe Deposits to Gitmans Chase Account
po_1AWMEXElPF4jcwQ0Jj9ksPJh                6/20/2017 0:00     $      (675.44)   bank_account   JPMORGAN CHASE   7775
po_1AW1FIElPF4jcwQ0aeRPdUVY                6/19/2017 0:00     $      (942.83)   bank_account   JPMORGAN CHASE   7775
po_1AUvpGElPF4jcwQ0yIFG2Rsl                6/16/2017 0:00     $    (1,272.33)   bank_account   JPMORGAN CHASE   7775
po_1AUZClElPF4jcwQ0M3XC6ybv                6/15/2017 0:00     $      (527.69)   bank_account   JPMORGAN CHASE   7775
po_1AUCkDElPF4jcwQ0lse94sjO                6/14/2017 0:00     $    (1,100.62)   bank_account   JPMORGAN CHASE   7775
po_1ATpYxElPF4jcwQ0gEsNROgb                6/13/2017 0:00     $      (299.00)   bank_account   JPMORGAN CHASE   7775
po_1ATSmCElPF4jcwQ0Pf3AunNd                6/12/2017 0:00     $      (522.53)   bank_account   JPMORGAN CHASE   7775
po_1ASO2jElPF4jcwQ0UNAy4jtc                 6/9/2017 0:00     $      (515.33)   bank_account   JPMORGAN CHASE   7775
po_1AS1W2ElPF4jcwQ0d1W6asQG                 6/8/2017 0:00     $      (426.98)   bank_account   JPMORGAN CHASE   7775
po_1ARfOrElPF4jcwQ0HCShDsnp                 6/7/2017 0:00     $      (632.89)   bank_account   JPMORGAN CHASE   7775
po_1ARIbsElPF4jcwQ0NsSTI4Sg                 6/6/2017 0:00     $    (1,144.66)   bank_account   JPMORGAN CHASE   7775
po_1AQvjzElPF4jcwQ079DjZ3Af                 6/5/2017 0:00     $      (251.72)   bank_account   JPMORGAN CHASE   7775
po_1AQa7DElPF4jcwQ0nTEwKxmD                 6/5/2017 0:00     $    (8,767.23)   bank_account   JPMORGAN CHASE   7775
                                                              $   (17,079.25)

BAP Reimbursement Check                                       $ (3,651.84)

Total Still Owed to CSV Bank Account                          $ (17,591.82)
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Email – Do not have direct access to Michael@channelreply.com he has simply forwarded my
emails to an alternative email address, this does not give me the ability to access or control my
own email as I did prior. All Gsuite accounts must be moved back to the parent account of
NDAP-LLC.
        Gsuite has not been moved back to NDAP-LLC it is still a new account created by David
not as it was May 26, 2017

Slack – Not currently invited as Michael@channelreply.com, now invited as
mikedash1@gmail.com - not as it was May 26, 2017

Zendesk (ChannelReply) - Not currently invited as Michael@channelreply.com, now invited as
mdash@coopersquareventures.com - not as it was May 26, 2017

Godaddy – All new accounts created with varying levels of Authorization, no direct access to
the username NDAP which is our companies account and login - not as it was May 26, 2017
(Still no ChannelReply.com anywhere in any of the accounts)

Stripe – Access Granted
All company information in Stripe is incorrect, still states ChannelReply, Inc instead of Cooper
Square Ventures, LLC with ChannelReply inc address. Not as it was May 26, 2017

Chargebee – Cannot access as was granted to Michael@channelreply.com but makes me login
through my google account login (gsuite account) and there is none associated as of now. Not
as it was May 26, 2017

Github – Access Granted

PayPal – Cannot access paypal@coopersquareventures.com login as I did prior to May
prior to May 26, 2017

Upwork Account – Access Granted

Amazon Seller Central – cannot access mdash@ndap-llc.com account
       cannot access Michael@channelreply.com account
       cannot access mdash+eu@ndap-llc.com account
on May 26th these accounts were the access points for all ChannelReply MWS details and
information

AWS – cannot access NDAP or ChannelReply AWS accounts - no login provided or email
invitation provided.

Magento – cannot access Magento account (username mdash) no way to reset password
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